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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CESAR FERNANDEZ-RODRIGUEZ,
ROBER GALVEZ-CHIMBO, SHARON
HATCHER, JONATHAN MEDINA, and
JAMES WOODSON, individually and on
behalf of all others similarly situated,
                            Petitioners,                   INSPECTION ORDER
                                                                20 Civ. 3315 (ER)
                   – against –

 MARTI LICON-VITALE, in her official
 capacity as Warden of the Metropolitan
 Correctional Center,
                            Respondent.


RAMOS, D.J.:
       Oe Court has reviewed the joint letter submitted by the parties on May 6, 2020,
Doc. 30. Oe Court orders as follows:

       1. Date and Timing of Inspection. An inspection of the Metropolitan
Correctional Center (“MCC”) will occur on Wednesday, May 13, 2020, and will start at
12:00 p.m. It will last for three hours starting from when the parties have passed through
security, with additional time added for any delays not attributable to the petitioners.
       2. Authorized Individuals. Oe following persons may attend the inspection:
           (i)    Oe petitioners’ expert, Dr. Homer Venters;
           (ii)   Oe respondent’s expert consultant;
           (iii) One attorney who represents petitioners, whose name petitioners will
                 provide by 5:00 p.m. on May 7, 2020 for purposes of security clearance;
           (iv) One attorney who represents the respondent;
           (v)    MCC escorts, as decided by MCC and whom may include a Bureau of
                  Prisons (“BOP”) attorney; and
           (vi) A neutral Spanish-speaking interpreter provided by the respondent.

Deirdre von Dornum, Attorney-in-Charge for the Federal Defenders of New York in the
Eastern District, shall also be permitted to attend. Oe Court ﬁnds that her presence will
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assist petitioners’ counsel and expert in the prosecution of their case. Furthermore, the
Court notes that von Dornum participated in an inspection of the Metropolitan Detention

Center (“MDC”) in Brooklyn on April 23, 2020, without reported incident. See Minute
Entry, Chunn v. Edge, No. 20 Civ. 1590 (RPK) (E.D.N.Y. Apr. 17, 2020) (“Chunn
Inspection Order”). Von Dornum may not speak directly to any inmate or staﬀ member
during the site inspection.
       3. Scope of Inspection. Oe petitioners will be permitted to inspect the
following areas of MCC:
           (i)    Unit 3;
           (ii)   Any units under quarantine on the date of the inspection;
           (iii) Oe women’s unit;
           (iv) Units 5 North, 7 North, and 11 South;
           (v)    To the extent not otherwise visited, all units housing any named
                  petitioner;
           (vi) Oe medical unit and examination rooms; and
           (vii) Oe commissary.

Oe petitioners may also visit the Special Housing Unit (“SHU”). On the record before

the Court, there is a factual dispute over whether the SHU is or has been used to isolate
inmates experiencing symptoms consistent with COVID-19. See, e.g., von Dornum Decl.

¶¶ 18, 21(b), 24–25, 29 (Apr. 28, 2020), Doc. 7. Furthermore, a similar inspection of the
SHU at MDC proceeded without reported incident. See Chunn Inspection Order, supra.
       4. Manner of Interviews. Oe inspection may include interviews with inmates.
All interviews will be conducted in the presence of all participants, and all interviews or
questioning of Spanish-speaking inmates will be done through a neutral interpreter. As
occurred in the MDC inspection, Venters shall initiate and guide all interviews, while
counsel for petitioners and respondent “may sparingly ask clarifying questions.” Minute
Entry, Chunn v. Edge, No. 20 Civ. 1590 (RPK) (E.D.N.Y. Apr. 23, 2020), Doc. 59.




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Venters is directed to ask all inmates being interviewed to state their name and
registration number. MCC staﬀ shall not be interviewed.

       5. Interview Location. As occurred during the MDC inspection and for the
same reasons as stated by the court in Chunn, Venters shall “be permitted cell-front
access to inmates for brief conversations, subject to the inmates’ willingness to speak to
Dr. Venters.” Order, Chunn v. Edge, No. 20 Civ. 1590 (RPK) (E.D.N.Y. Apr. 17, 2020),
Doc. 53 (noting that “[a] cell-front protocol is likely to yield more relevant information
and to be less burdensome than respondent’s proposed alternative . . . .”). Petitioners may
also, by May 11, 2020, identify a limited number of inmates by name and registration
number that they wish for Venters to interview in a more private setting. Oese inmates
shall be brought to a suitable interview room for separate questioning in accordance with
paragraph 4 of this Order.
       6. Equipment. No personal items will be allowed inside MCC, except all
inspection participants may bring paper and pens for notetaking.
       7. Photographs. Oe respondent is directed to provide a digital camera and
photographer. See Inspection Order, Cameron v. Bouchard, No. 20 Civ. 10949 (LVP)
(E.D. Mich. Apr. 22, 2020), Doc. 27 (directing prison staﬀ to take photographs at
inspector’s discretion). Oe photographer designated by the respondent shall take still
photographs during the inspection as directed by Venters and the respondent’s expert.
Petitioners may review each photograph on the camera and direct reasonable retakes as
needed. No photographs may be taken of staﬀ or inmates. Following the inspection, the
respondent shall review the photographs, determine whether any present a security
concern, and release all acceptable photographs to the petitioners within 24 hours of the
inspection. If any photograph presents security concerns, the parties shall meet and
confer and attempt to resolve those concerns; the parties will raise any issue they cannot
resolve with the Court. All photographs taken during the site inspection will




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automatically be subject to the protective order entered by the Court on May 6, 2020,
Doc. 29.

         8. Personal Protective Equipment. All participants must wear suitable
personal protective equipment (“PPE”) in the facility. Venters, petitioners’ attorney, and
von Dornum will bring their own N-95 masks, gloves, and face shields or googles. Oe
respondent shall provide suits or gowns and booties for Venters, petitioners’ attorney, and
von Dornum, as well as PPE for the remaining participants.


It is SO ORDERED.


Dated:     May 7, 2020
           New York, New York

                                                         EDGARDO RAMOS, U.S.D.J.




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